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     EXHIBIT D
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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO

 ______________________________________

      MELODY JOY CANTU AND DR.                                     5:20-CV-0746 JKP – HJB
 RODRIGO CANTU,
                                                                     Plaintiff Dr. Cantu’s
                                    Plaintiffs,                   Responses to Defendant Dr.
                                                                    Guerra’s First Set Of
                            v.                                          Interrogatories

      DR. SANDRA GUERRA and
 DIGITAL FORENSICS CORPORATION,
 LLC,

                                     Defendants.


 ______________________________________

      Plaintiff Dr. Rodrigo Cantu’s Response to Defendant Dr. Guerra’s First Set of
                                     Interrogatories


       Plaintiff Dr. Rodrigo Cantu hereby responds to the interrogatories served by Defendant

Dr. Sandra Guerra. Defendant reserves the right to change, revise, and supplement these

responses and objections based on new information.

                                  GENERAL OBJECTIONS

   1. Plaintiff objects to the Interrogatories to the extent that they seek information and/or

       documents that are protected from disclosure by the attorney-client privilege, the joint

       defense privilege, the work product doctrine, or any other privilege or legal protection

       from disclosure.

   2. Plaintiff objects to the Interrogatories to the extent that they seek information and/or

       documents that are confidential, competitively sensitive, and/or trade secrets.
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3. In responding to and/or objecting to the Interrogatories, Plaintiff does not concede that

   any of the documents and/or information sought are relevant to, material to, or admissible

   in this action, or reasonably likely to lead to the discovery of evidence that would be

   relevant to, material to, or admissible in any proceeding, including, but not limited to, this

   action. No objection or limitation in this response, or lack thereof, shall be deemed an

   admission by Plaintiff as to the responsiveness, relevance, existence, or nonexistence of

   documents or information.

4. In responding to the Interrogatories, Plaintiff does not in any way waive or intend to

   waive, but rather intends to preserve and is preserving, all objections as to competency,

   relevancy, materiality, and admissibility of the Interrogatories or the subject matter

   thereof, all objections as to vagueness, ambiguity, and undue burden, all rights to object

   on any ground to the use of any of said documents or responses, or the subject matter

   thereof, in any subsequent proceeding, in this action or any other proceeding, and all

   rights to object on any ground to any request for further responses to these or any other

   requests for documents, interrogatory requests, or any other discovery requests involving

   or related to the subject matter of the Interrogatories.

5. Plaintiff objects to the Interrogatories to the extent that they call for the production of

   documents and/or information already in the possession or control of Defendant or

   documents produced or made available for inspection by other sources, on the grounds

   that such production would be unnecessary and unduly burdensome. Plaintiff objects to

   the Interrogatories to the extent that they purport to require Plaintiff to seek out and

   produce documents that are not within its actual possession or control or that could just as

   easily be obtained by Defendant as Plaintiff.
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6. Plaintiff objects to the Definitions and Instructions of the Interrogatories to the extent that

   they seek to impose obligations different from or in excess of the obligations imposed by

   Federal Rules of Civil Procedure.

                                       RESPONSES
1. Identify with specificity all the compensatory damages (including, without
   limitation, all medical bills and costs) you seek to recover from Dr. Guerra in
   connection with the CFAA Claims you have asserted against Dr. Guerra. Please
   include with your answer the amount of each item of compensatory damages and
   the date such damage/cost was incurred.

   Plaintiff objects to this interrogatory on the grounds that it is overbroad, unduly
   burdensome, seeks irrelevant information, and seeks information already known to
   Defendant and is premature as damages are not an issue at this juncture.

2. Identify with specificity all the compensatory damages (including, without
   limitation, all medical bills and costs) you seek to recover from Digital Forensics
   Corporation, LLC (“DFC”) in connection with the CFAA Claims you have asserted
   against DFC. Please include with your answer the amount of each item of
   compensatory damages and the date such damage/cost was incurred.

   Plaintiff objects to this interrogatory on the grounds that it is overbroad, unduly
   burdensome, seeks irrelevant information, and seeks information already known to
   Defendant and is premature as damages are not an issue at this juncture.

3. Identify with specificity all the compensatory damages (including, without
   limitation, all medical bills and costs) you seek to recover from Dr. Guerra in
   connection with the Texas Statutory Claims you have asserted against Dr. Guerra.
   Please include with your answer the amount of each item of compensatory damages
   and the date such damage/cost was incurred.

   Plaintiff objects to this interrogatory on the grounds that it is overbroad, unduly
   burdensome, seeks irrelevant information, and seeks information already known to
   Defendant and is premature as damages are not an issue at this juncture.

4. Identify with specificity all the compensatory damages (including, without
   limitation, all medical bills and costs) you seek to recover from DFC in connection
   with the Texas Statutory Claims you have asserted against DFC. Please include with
   your answer the amount of each item of compensatory damages and the date such
   damage/cost was incurred.
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   Plaintiff objects to this interrogatory on the grounds that it is overbroad, unduly
   burdensome, seeks irrelevant information, and seeks information already known to
   Defendant and is premature as damages are not an issue at this juncture.

5. Identify with specificity all the compensatory damages (including, without
   limitation, all medical bills and costs) you seek to recover from Dr. Guerra in
   connection with the malicious prosecution claim you have asserted against Dr.
   Guerra. Please include with your answer the amount of each item of compensatory
   damages and the date such damage/cost was incurred.

   Plaintiff objects to this interrogatory on the grounds that it is overbroad, unduly
   burdensome, seeks irrelevant information, and seeks information already known to
   Defendant and is premature as damages are not an issue at this juncture.

6. Identify with specificity all the compensatory damages (including, without
   limitation, all medical bills and costs) you seek to recover from DFC in connection
   with the malicious prosecution claim you have asserted against DFC. Please include
   with your answer the amount of each item of compensatory damages and the date
   such damage/cost was incurred.

   Plaintiff objects to this interrogatory on the grounds that it is overbroad, unduly
   burdensome, seeks irrelevant information, and seeks information already known to
   Defendant and is premature as damages are not an issue at this juncture.

7. Identify with specificity all the compensatory damages (including, without
   limitation, all medical bills and costs) you seek to recover from Dr. Guerra in
   connection with the intentional infliction of emotional distress claim you have
   asserted against Dr. Guerra. Please include with your answer the amount of each
   item of compensatory damages and the date such damage/cost was incurred.

   Plaintiff objects to this interrogatory on the grounds that it is overbroad, unduly
   burdensome, seeks irrelevant information, and seeks information already known to
   Defendant and is premature as damages are not an issue at this juncture.

8. Identify with specificity all the compensatory damages (including, without
   limitation, all medical bills and costs) you seek to recover from DFC in connection
   with the intentional infliction of emotional distress claim you have asserted against
   DFC. Please include with your answer the amount of each item of compensatory
   damages and the date such damage/cost was incurred.

   Plaintiff objects to this interrogatory on the grounds that it is overbroad, unduly
   burdensome, seeks irrelevant information, and seeks information already known to
   Defendant and is premature as damages are not an issue at this juncture.
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9. Identify with specificity all the consequential damages (including, without
   limitation, all medical bills and costs) you seek to recover from Dr. Guerra in
   connection with the CFAA Claims you have asserted against Dr. Guerra. Please
   include with your answer the amount of each item of consequential damages and the
   date such damage/cost was incurred.

   Plaintiff objects to this interrogatory on the grounds that it is overbroad, unduly
   burdensome, seeks irrelevant information, and seeks information already known to
   Defendant and is premature as damages are not an issue at this juncture.

10. Identify with specificity all the consequential damages (including, without
    limitation, all medical bills and costs) you seek to recover from Digital Forensics
    Corporation, LLC (“DFC”) in connection with the CFAA Claims you have asserted
    against DFC. Please include with your answer the amount of each item of
    consequential damages and the date such damage/cost was incurred.

   Plaintiff objects to this interrogatory on the grounds that it is overbroad, unduly
   burdensome, seeks irrelevant information, and seeks information already known to
   Defendant and is premature as damages are not an issue at this juncture.

11. Identify with specificity all the consequential damages (including, without
    limitation, all medical bills and costs) you seek to recover from Dr. Guerra in
    connection with the Texas Statutory Claims you have asserted against Dr. Guerra.
    Please include with your answer the amount of each item of consequential damages
    and the date such damage/cost was incurred.

   Plaintiff objects to this interrogatory on the grounds that it is overbroad, unduly
   burdensome, seeks irrelevant information, and seeks information already known to
   Defendant and is premature as damages are not an issue at this juncture.

12. Identify with specificity all the consequential damages (including, without
    limitation, all medical bills and costs) you seek to recover from DFC in connection
    with the Texas Statutory Claims you have asserted against DFC. Please include with
    your answer the amount of each item of consequential damages and the date such
    damage/cost was incurred.

   Plaintiff objects to this interrogatory on the grounds that it is overbroad, unduly
   burdensome, seeks irrelevant information, and seeks information already known to
   Defendant and is premature as damages are not an issue at this juncture.

13. Identify with specificity all the consequential damages (including, without
    limitation, all medical bills and costs) you seek to recover from Dr. Guerra in
    connection with the malicious prosecution claim you have asserted against Dr.
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   Guerra. Please include with your answer the amount of each item of consequential
   damages and the date such damage/cost was incurred.

   Plaintiff objects to this interrogatory on the grounds that it is overbroad, unduly
   burdensome, seeks irrelevant information, and seeks information already known to
   Defendant and is premature as damages are not an issue at this juncture.

14. Identify with specificity all the consequential damages (including, without
    limitation, all medical bills and costs) you seek to recover from DFC in connection
    with the malicious prosecution claim you have asserted against DFC. Please include
    with your answer the amount of each item of consequential damages and the date
    such damage/cost was incurred.

   Plaintiff objects to this interrogatory on the grounds that it is overbroad, unduly
   burdensome, seeks irrelevant information, and seeks information already known to
   Defendant and is premature as damages are not an issue at this juncture.

15. Identify with specificity all the consequential damages (including, without
    limitation, all medical bills and costs) you seek to recover from Dr. Guerra in
    connection with the intentional infliction of emotional distress claim you have
    asserted against Dr. Guerra. Please include with your answer the amount of each
    item of consequential damages and the date such damage/cost was incurred.

   Plaintiff objects to this interrogatory on the grounds that it is overbroad, unduly
   burdensome, seeks irrelevant information, and seeks information already known to
   Defendant and is premature as damages are not an issue at this juncture.

16. Identify with specificity all the consequential damages (including, without
    limitation, all medical bills and costs) you seek to recover from DFC in connection
    with the intentional infliction of emotional distress claim you have asserted against
    DFC. Please include with your answer the amount of each item of consequential
    damages and the date such damage/cost was incurred.

   Plaintiff objects to this interrogatory on the grounds that it is overbroad, unduly
   burdensome, seeks irrelevant information, and seeks information already known to
   Defendant and is premature as damages are not an issue at this juncture.

17. Identify with specificity the amount of punitive damages you seek to recover from
    Dr. Guerra in connection with your claims asserted against her in the lawsuit and
    the basis for the calculation of such amount.

   Plaintiff objects to this interrogatory on the grounds that it is overbroad, unduly
   burdensome, seeks irrelevant information, and seeks information already known to
   Defendant and is premature as damages are not an issue at this juncture. Without waiving
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   the foregoing objections, and reserving the right to change this number based upon new
   information and trial, Plaintiff seeks $10,000,000.00 in punitive damages.

18. Identify with specificity the amount of punitive damages you seek to recover from
    DFC in connection with your claims asserted against them in the lawsuit and the
    basis for the calculation of such amount.

   Plaintiff objects to this interrogatory on the grounds that it is overbroad, unduly
   burdensome, seeks irrelevant information, and seeks information already known to
   Defendant and is premature as damages are not an issue at this juncture. Without waiving
   the foregoing objections, and reserving the right to change this number based upon new
   information and trial, Plaintiff seeks $10,000,000.00 in punitive damages.
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                                  Certificate of Service

I certify that on September 15th, 2022, I served the above responses to Defendant’s
attorneys according to the Federal Rules of Civil Procedure.

                                                                     /s/ Michael Hassard
                                                                         Michael Hassard
